            Case 2:21-cv-00019-wks Document 1 Filed 01/28/21 Page 1 of 3

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                                 IN THE LINITED STATES DISTRICT COURT                     ?fi?I   JfiH   E                      9r l+3
                                     FOR THE DISTRICT OF VERMONT
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 T.INITED STATES OF AMERICA,
                                                              Case No.                    BY
                                                                                                             \j   .1t   f"a1I

               Plaintiff,                                                                                     i {.L     L i1'*l
                                                                             X , ?.t   -cvZ
               v.

 MARVIN R. KENDALL,

               Defendant.                                )
                                                         )

                                                 COMPLAINT

          The United States of America, at the direction of a delegate of the Attorney General and

with the authorization of a delegate of the Secretary of the Treasury, pursuant to 26 U.S.C.

$ 7401, brings this     civil action to reduce   to judgment unpaid federal tax   liabilities owed by

Marvin R. Kendall. For its complaint, the United States respectfully alleges as follows:

                                    JURISDICTION AND PARTIE              S

          l.        The district court has jurisdiction pursuant to 26 U.S.C. $ 7a02@) and28 U.S.C.

$$ 1331, 1340,and1345.

          2.        The defendant, Marvin R. Kendall, resides in Caledonia County, Vermont, within

the   jurisdiction of this Court.

                      CLAIM AGAINST MARVIN R. KENDALL TO REDUCE
                               LIABILITIES TO JUDGMENT

          3.        A delegate of the Secretary of the Treasury made assessments against Marvin R.

Kendall for income taxes for the periods, on the dates, and in the amounts described below.

These liabilities have balances due as of January 1,2021, including assessed and accrued late-

filing and late-payment additions to tax under 26 U.S.C. $ 6651 or additions to tax for failure to
         Case 2:21-cv-00019-wks Document 1 Filed 01/28/21 Page 2 of 3




make estimated tax payments under 26 U.S.C. $ 6654, costs, and statutory interest, and after

applying any abatements, payments, and credits, as follows:

            Tax Period     Assessment      Assessment        Amount        Balance Due
              Ending          Date             Type         Assessed          llll202t
            l2/3t/2007      21r4t2011           Tax        $28,882.72        $56,135.89
            t2/3t/2008      21071201,1         Tax         $31,631.83        $35,119.89
            1213u2009       2/t4l20Lt          Tax         $26,108.25        $28,389.35
             t2/3U2014      u09l2afi           Tax         s38,698.00        s22,262.33
            Total                                                             $141,907.46

       4.      Notice of the liabilities described in paragraph 3 was given to, and payment

demanded from, Marvin R. Kendall.

       5.      Despite proper notice and demand, Marvin R. Kendall failed, neglected, or

refused to fully pay the liabilities, and after the application of all abatements, payments, and

credits, he remains liable to the United States in the amount of $141,907.46, plus statutory

additions and interest accruing from and after January 1,202I.

       WHEREFORE, the plaintiff United States of America requests the following relief:

       A.      Judgment against the defendant Marvin R. Kendall for income tax liabilities for

the periods ending December 31,2007, December 37,2008, December 31,2009, and December

31,2014, in the amount of $141,907.46, plus statutory additions and interest accruing from and

after January 1,202I, including interest pursuant to 26 U.S.C $$ 6601, 6621, and 6622, and28

U.S.C. $ 1961(c); and

       B.      The United States of America shall recover its costs and be awarded such other

and further relief as the Court determines is just and proper.
Case 2:21-cv-00019-wks Document 1 Filed 01/28/21 Page 3 of 3




                                Respectfully submitted,

                                DAVID A. HUBBERT
                                Deputy Assistant Attorney General
                                Tax Division, U.S. Departrnent of Justice

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                                Nffi
                                Trial Attomey, Tax Division
                                U.S. Department of Justice
                                P.O. Box 55
                                Washington, D.C. 20044-0055
                                (202) st4-9838 (v)
                                (202) sl4-s238 (f)
                                Noah.D. Glover-Ettrich@usdoj. gov
                                             Case 2:21-cv-00019-wks Document 1-1 Filed 01/28/21 Page 1 of 1
    JSul4 (Rev. 10/20)
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 providedbylocalrulesofcourt. Thisform,approvedbytheJudicialConferenceoftieUnitedStatesinSeptemberlgT4,isrequiredfortheuseoftheClerkofCourtforthe
        of initiating the civil docket sheet. (SEE INSTRUCTTONS ON NEXT ?AGE OF THIS FORM.)
    L (a) PLAINTIFFS                                                                                                                   DEFENDANTS
                  UNITED STATES OF AMERICA                                                                                             MARVIN R. KENDALL
       @)         County of Residence of First Listed Plaintiff                                                                        County of Residence of First Listed Defendant CALEDONIA
                                    (EXCEPT IN U.S. PLAINTIFF CASES)                                                                                          (N U.S PLAINTIFF CASES ONLY)
                                                                                                                                       NOTE: IN LAND CONDEMNATION CASES, USE THE LOCATION OF
                                                                                                                                               TIIE TRACT OF LAND ITIVOLVED.
       (C)    Attorneys         lfirz   Name, Address, and Telephone Numberl                                                           Attorneys (lfKnownl
                  Noah D. Glover-Ettrich, Dep't of Justice, P.O. Box 55,
                  Washington, D.C. 20044, (202) 514-9838
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YI.      CAUSE OFACTION
                                                        Brief description of     cause   I

                                                            to reduce Federal tax liabilities to judgment
VII.        REQUESTED                     IN n               cHpcr      m rHrs tS A           clAss       ACrroN             DEMAND $                                          CHECK YES only if demanded in complaint:
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vrrr.        RELATED CASE(S)
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